                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 In re:

 Lucas A. Hester,                                       Case No. 22-12523-HAC-7

                          Debtor.


 Lucas A. Hester,

                          Plaintiff,                    Adv. Proc. No. 23-1002-HAC

 v.

 United States Department of Education,

                          Defendant.


                                                ORDER

          This matter came before the Court on the parties’ Stipulation and Joint Motion for Order

Determining Dischargeability [Doc. 22]. Upon consideration of the Stipulation and Joint Motion,

the record and the statements of counsel, the Court finds as follows:

          Though student loan debts are generally not to be discharged under the Bankruptcy Code,

a narrow exception exists where “excepting such debt from discharge . . . will impose an undue

hardship on the debtor and the debtor’s dependents.” 11 U.S.C. § 523(a)(8). The Eleventh Circuit

has joined the significant majority of other circuits in adopting the standard set forth in Brunner

v. New York State Higher Education Services Corp., 831 F.2d 395, 396 (2d Cir. 1987) to

determine when an “undue hardship” exists. In re Cox, 338 F.3d 1238, 1241-42 (11th Cir. 2003).

The Brunner test requires the debtor to show:

          “(1) that the debtor cannot maintain, based on current income and expenses, a
          ‘minimal’ standard of living for herself and her dependents if forced to repay the



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       loans; (2) that additional circumstances exist indicating that this state of affairs is
       likely to persist for a significant portion of the repayment period of the student
       loans; and (3) that the debtor has made good faith efforts to repay the loans.”

Graddy v. Educ. Credit Mgmt. Corp. (In re Graddy), 852 F.App’x 509, 512 (11th Cir. 2021)

(quoting In re Cox, 338 F.3d at 1241). The debtor must prove that all three Brunner factors are

met by a preponderance of the evidence. In re Mosley, 494 F.3d 1320, 1324 (11th Cir. 2007).

However, “the bankruptcy court must make an independent determination of undue hardship . . .

even if the creditor fails to object or appear in the adversary proceeding.” United Student Aid

Funds, Inc. v. Espinosa, 559 U.S. 260, 278 (2010).

       The Eleventh Circuit has not foreclosed the possibility of a partial discharge of student

loans but has held that such a discharge would still have to be supported by a finding of undue

hardship. Cox, 338 F.3d at 1242 (“There is no other language within § 523(a)(8) that could

reasonably be construed to permit a discharge, partial or otherwise, absent a finding of ‘undue

hardship.’”). Other courts considering a partial discharge have held that “discharging some, but

not all, student loans, is not a ‘partial discharge.’” Clark v. Wells Fargo Bank, N.A. (In re Clark),

Nos. 15-42603-BEM, 18-4012, 2021 Bankr. LEXIS 3257, at *2 n.1 (Bankr. N.D. Ga. Nov. 29,

2021) (citing Andresen v. Nebraska Std Loan Program, Inc., 232 B.R. 127, 136-37 (B.A.P., 8th

Cir. 1999)).

       Here, the parties agree that Plaintiff has satisfied the Brunner test and shown that

excepting all of Plaintiff’s student loan debts from discharge will impose an undue hardship on

Plaintiff and his spouse. Specifically, the parties agree that:

       (1)     Based on Plaintiff’s current gross monthly income of $4,439.78 measured

               against his housing expenses and the monthly expense allowances under

               IRS’s National and Local Standards for Living Expenses, which total




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                $4,123.59, Plaintiff cannot maintain a minimal standard of living and also

                make the required total monthly payment toward his student loan debts;

       (2)      Based on Plaintiff’s explanation that his financial condition is not likely to

                change significantly, Plaintiff’s inability to repay all of his student loan

                debts while maintaining a minimal standard of living will likely persist for

                a significant portion of the repayment period; and

       (3)      Based on Plaintiff being enrolled in an Income Driven Repayment Plan,

                Plaintiff has made good faith efforts in the past to repay the student loan

                debts.

       Therefore, the Court agrees that excepting all of Plaintiff’s student loan debts from

discharge will impose an undue hardship on Plaintiff and his spouse. Accordingly, the Court

GRANTS the parties’ joint motion and ORDERS as follows:

       1. Plaintiff’s student loan debts, identified in the joint motion as Loan Nos. 5, 6, 8, 10,

             11, and 12, and listed here are dischargeable under 11 U.S.C. § 523(a)(8):

 Debt           Disbursed     Disbursed      Principal      Interest       Accrued        Total
 Number         Date          Amount                        Rate           Interest
 DLUNST         08/30/2016    $10,250        $10,661.12     5.31%          $1,478.37      $12,139.49
 12
 DLUNST         09/01/2015    $20,500        $22,392.70     5.84%          $3,430.46      $25,823.16
 11
 DLUNST         09/02/2014    $20,500        $23,790.76     6.21%          $3,885.71      $27,676.47
 10
 DLUNST         09/04/2012    $2,000         $2,623.18      6.80%          $470.73        $3,093.91
 8
 DLUNST         08/30/2011    $2,000         $2,760.73      6.80%          $495.25        $3,255.98
 6
 DLSTFD         08/30/2011    $5,500         $5,500.00      3.40%          $0.51          $5,500.51
 5
 TOTAL                        $60,750        $67,728.49                    $9,761.03      $77,489.52




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        2. Because the Court entered its order granting Plaintiff’s discharge under 11 U.S.C.

             § 727 on March 14, 2023 [Bankr. Case No. 22-12523, Doc. 13] the student loan debts

             listed above as Loan Nos. 5, 6, 8, 10, 11, and 12 are discharged.

        Dated:     March 1, 2024




Order prepared by:
Keith A. Jones, AUSA
Consented to by: Dragan Stojanovic, Counsel for Plaintiff




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